Case: 3:21-cv-00431-jdp Document #: 1-2 Filed: 07/02/21 Page 1 of 29




 EXHIBIT B
7/2/2021             Case: 3:21-cv-00431-jdp Document
                                             2021CV000115#: 1-2
                                                         Case     Filed:
                                                              Details       07/02/21
                                                                      in Douglas County Page 2 of 29


      Douglas County Case Number 2021CV000115 Cheryl Shockley vs. KMD
      Wisconsin LLC et al
           Case summary

           Filing date
                  date                 Case type
                                       Case  type                     Case status
                                                                      Case status
           05-17-2021                  Civil                          Open -- Electronic filing
                                                                      Open

           Class code
           Class code description
                      description      Responsible official
                                       Responsible                    Branch ID
           Money Judgment
           Money  Judgment             Thimm, Kelly JJ                1

           Party summary
           Party type                  Party name                                                 Party status
           Plaintiff                   Shockley, Cheryl
                                       Shockley,
           Defendant
           Defendant                   KMD Wisconsin LLC
           Defendant
           Defendant                   Clarity Services, Inc.
                                       Clarity Services, Inc.



           Parties

                       Shockley, Cheryl
            Plaintiff: Shockley, Cheryl

                Date of birth                         Sex                                         Race


                Address (last
                Address (last updated
                              updated 05-19-2021)
                                      05-19-2021)
                6604 East
                6604 East Webb
                          Webb Road,
                                Road, South
                                      South Range,
                                            Range, WI
                                                   WI 54874
                                                      54874 US

                Attorneys
                Attorneys
                 Attorney name
                 Attorney name                                  Guardian ad
                                                                Guardian ad litem                         Entered
                                                                                                          Entered
                 Crandall, Eric Leighton                        No                                        05-19-2021




            Defendant: KMD Wisconsin LLC

                Date of
                Date of birth                         Sex
                                                      Sex                                         Race
                                                                                                  Race


                Address (last updated 05-19-2021)
                222 South Riverside Plaza, Suite 2200, Chicago, IL 60606 US

                Attorneys
                Attorneys
                 Attorney name                                   Guardian ad litem                         Entered
                 Newman, Patrick Daniel
                                 Daniel                          No
                                                                 No                                        06-22-2021

                Also known as
                 Name                          Type                                               Date of birth
                 Credit
                 Credit Ninja                  Doing business as
                                                     business as




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                                             2021CV000115#: 1-2
                                                         Case     Filed:
                                                              Details       07/02/21
                                                                      in Douglas County Page 3 of 29

            Defendant: Clarity Services, Inc.

               Date of
               Date of birth                          Sex
                                                      Sex                                       Race
                                                                                                Race


               Address (last updated 05-19-2021)
               PO Box 5717, Clearwater, FL 33758 US



           Court record


             Date
             Date         Event
                          Event                                               Court official
                                                                              Court                Court reporter
                                                                                                   Court reporter Amount
             06-25-2021 Order
             06-25-2021                                                       Thimm, Kelly JJ
                          Additional text:
                          Order extending time to respond


             06-22-2021 Proposed Order
                        Stipulation
             06-22-2021 Stipulation
                          Additional text:
                          Stipulation for extension of time


             06-22-2021 Notice of retainer
                        Electronic Notice
             06-22-2021 Electronic         Update
                                   Notice Update
                        eFiled Document
             06-22-2021 eFiled Document FeeFee Paid
                                               Paid                                                              $20.00
                                                                                                                 $20.00
                          Additional text:
                          Additional text:
                          Adjustment Number: 21A 129524,
                          Adjustment
                          Payable Number:
                          Payable         139384,
                                  Number: 139384,
                          Receipt Number:
                          Receipt         21R 010684,
                                  Number: 21R
                          Amount: $20.00
                          Amount: $20.00


             06-07-2021 Affidavit
             06-07-2021 Affidavit of
                                  of service
                                     service
                          Additional text:
                          Additional text:
                          Affidavit of
                          Affidavit of June 3, 2021
                                       June 3, 2021 service
                                                    service


                                       Order for
             05-17-2021 Petition and Order    for Waiver
                                                  Waiver ofof Fees
                                                              Fees Granted
                                                                   Granted    Lovejoy, Rebecca
                                                                              Lovejoy, Rebecca
             05-17-2021 Case
             05-17-2021        initiated by
                        Case initiated   by electronic filing
             05-17-2021 Summons and complaint




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                   SOLUTIONS                                       INC                                                                                 Suite 300
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                                                                                   ET AL.
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    AGENCY I/ PLABITFF
              PLAINTIFF NIFCRIIATION
                        INFORMATION
   Firm/Issuing Agent:
   Firniqsauing                         CRANDALL LAW
                                        CRAM3ALL    LAW FIRM, SC
   Attorney/Contact:                    ERIC L.
                                        ERC   L. CRAM3ALL
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   Location:
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      Case 2021CV000115      Document 5       Filed 05-17-2021       Page 1 of 21
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                                                                                                  Douglas County, WI
                                                                                                  2021CV000115




STATE OF WISCONSIN                    CIRCUIT COURT                  COUNTY OF DOUGLAS


Cheryl Shockley,                                           Case No. 2021-CV-

               Plaintiff,
vs.


                                                                                  .   •                  '     ...-t ,
KMD Wisconsin, LLC,                                                       FOR STA-4 CPR                ' 'li 'SC( i.e.

 d/b/a Credit Ninja, and
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Clarity Services, Inc.,                                            Dale al Si'.   _ _        __    _   2_      14.---_
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               Defendants.


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                        THE STATE OF WISCONSIN
          TO EACH PERSON OR ENTITY NAMED ABOVE AS A DEFENDANT

You are hereby notified that the Plaintiff named above have filed a lawsuit or other legal action
against you. The complaint, which is attached, states the nature and basis of the legal action.

Within twenty (20) days of receiving this summons, you must respond with a written answer to the
complaint, as the term is used in chapter 802 of the Wisconsin Statutes. The court may reject or
disregard an answer that does not follow the requirements of the statutes. The answer must be
electronically filed, or sent or delivered to the court, whose address is

Clerk of Circuit Court,
Douglas County Courthouse,
1313 Belknap Street,
Superior, Wisconsin 54880,
    Case: 3:21-cv-00431-jdp Document #: 1-2 Filed: 07/02/21 Page 6 of 29
    Case 2021CV000115       Document 5          Filed 05-17-2021         Page 2 of 21




and a copy sent or delivered to Plaintiff's attorney, whose address is

Eric L. Crandall, Esq.,
Crandall Law Firm, SC,
421 West Second Street,
PO Box 27,
New Richmond, WI 54017

You may have an attorney help or represent you.

If you do not provide a proper answer within twenty (20) days, the court may grant judgment against
you for the award of money or other legal action requested in the complaint, and you may lose your
right to object to anything that is or may be incorrect in the complaint. A judgment may be enforced
as provided by law. A judgment awarding money may become a lien against any real estate you own
now or in the future, and may also be enforced by garnishment or seizure of property.


DATED: May 17, 2021                                   Electronically signed by Eric Crandall
                                                     Eric L. Crandall, Esq.
                                                     CRANDALL LAW FIRM, SC
                                                     421 West Second Street
                                                     PO Box 27
                                                     New Richmond, WI 54017
                                                     715-243-9996 (p)
                                                     WisconsinConsumerLaw@frontier.com
                                                     Wis. Attorney Lic. No. 1001833

                                                     ATTORNEY FOR PLAINTIFF
      Case: 3:21-cv-00431-jdp Document #: 1-2 Filed: 07/02/21 Page 7 of 29
      Case 2021CV000115       Document 5         Filed 05-17-2021        Page 3 of 21
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                                                                                         Douglas County, WI
STATE OF WISCONSIN                      CIRCUIT COURT                    COUNTY OF itamorms5


Cheryl Shockley,                                              Case No. 2021-CV-

                Plaintiff,
vs.


KMD Wisconsin, LLC,
 d/b/a Credit Ninja, and
Clarity Services, Inc.,

                Defendants.


                        COMPLAINT AND DEMAND FOR JURY TRIAL


                                       I. INTRODUCTION

1.      This is an action brought by Cheryl Shockley ("Shockley") seeking redress for violations of

        the Wisconsin Consumer Act ("Consumer Act" or "WCA") committed by KMD Wisconsin,

        LLC, d/b/a Credit Ninja ("Credit Ninja"). Shockley also seeks redress for violations of the

        Fair Credit Reporting Act, 15 U.S.C. §1681, et seq. ("FCRA"), and Wisconsin's Privacy

        statute, Wis. Stat. § 995.50, committed by both Credit Ninja, and by Clarity Services, Inc.

        ("Clarity").   Shockley seeks recovery of actual, statutory and punitive damages, her

        reasonably incurred costs and attorney fees, as well as declaratory and injunctive relief.

                                       II. JURISDICTION

2.      Jurisdiction of this court arises under Wis. Stat. § 421.201-203 (WCA jurisdiction) and Wis.

        Stat. § 801.04 (general), as well as 15 U.S.C. §1681p (FCRA).

3.      Venue is appropriate under Wis. Stat. § 421.401 (WCA venue) and Wis. Stat. § 801.50

        (venue).


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                                       III. PARTIES

Cheryl Shockley

4.       Plaintiff Cheryl Shockley is an individual residing in Douglas County, Wisconsin.

5.       While Shockley is of normal intelligence, she lacks advanced sophistication in the specific

        businesses of payday lending and credit reporting.

6.      Shockley was and is a "consumer" or "customer" as defined by Wis. Stat. § 421.301(17).

7.      Shockley was and is a "consumer" as defined by 15 U.S.C. § 1681a( c ).

8.      Shockley was and is a "person" as defined by Wis. Stat. § 990.01(26).

9.      Shockley was and is a "person" as that term is used in Wis. Stat. § 995.50, and is further

        entitled to the protections and remedies of Wis. Stat. § 995.50.

Credit Ninja

10.     Defendant Credit Ninja, is a foreign company engaged in arranging or brokering consumer

        loans and transactions made at high interest, and receiving payment for arranging or

        brokering those loans and transactions.

11.     Credit Ninja is a sophisticated business, operating throughout Wisconsin.

12.     Credit Ninja is licensed to conduct business in Wisconsin.

13.     Credit Ninja is licensed to make loans to Wisconsin consumers, after January 1, 2021, but

        was not licensed to make loans to Wisconsin consumers before that date.

14.     Credit Ninja was and is a "merchant" as defined by Wis. Stat. § 421.301(25).

15.     Credit Ninja is a "person" as defined by Wis. Stat. § 990.01.

16.     Credit Ninja is also a "person" as that term is used in Wis. Stat. § 995.50, and is burdened

        by and subject to the remedies of Wis. Stat. § 995.50.


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17.       Per the "Terms of Use" section of its website, Credit Ninja acknowledges that it regularly

          arranges or obtains consumer loans for those who apply for credit, and receives

          compensation for doing so.

18.       Credit Ninja regularly arranges or obtains consumer loans for Wisconsin consumers made

         at high interest, and was and is a credit services organization ("CSO") as defined by Wis.

          Stat. § 425.501(2).

19.       Credit Ninja is not registered to act as a CSO in Wisconsin, and is neither registered nor

        authorized to perform the duties of a CSO in Wisconsin, as required by Wis. Stat. § 425.502.

20.     Credit Ninja is liable for the acts of its employees, agents, and independent contractors under

        theories of respondeat superior, agency, and vicarious liability.

21.     As a business conducting its affairs within the United States generally, and Wisconsin

        specifically, Credit Ninja is deemed to know what is lawful and what is unlawful under US

        and Wisconsin law. Barlow v. United States, 8 L. Ed. 728 (1833)("ignorance of the law will

        not excuse any person, either civilly or criminally"); Atkins v. Parker, 472 U.S. 115, 130

        (1985)("all citizens are presumptively charged with knowledge of the law"); Putnam v. Time

          Warner Cable of Southeastern Wisconsin, LP, 2002 WI 108, ¶ 13 & footnote 4, 255 Wis.2d

        447, 458 (Wis. 2002)("Wisconsin has adopted the mistake of law doctrine").

Clarity

22.     Clarity is a corporation incorporated under the laws of the state of Delaware.

23.     Clarity is a sophisticated business, operating throughout Wisconsin.

24.     Clarity is a "person" as defined by Wis. Stat. § 990.01.




                                                 -5-
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25.      Clarity is also a "person" as that term is used in Wis. Stat. § 995.50, and is burdened by and

         subject to the remedies of Wis. Stat. § 995.50.

26.      Clarity is a "consumer reporting agency" under the FCRA.

27.      Clarity maintains consumer reports on thousands of Wisconsin residents, and sells those

         reports to various third persons, including Credit Ninja.

28.      Clarity is a consumer reporting agency as defined by §1681a(f) of the Act, and is regularly

         engaged in the business of assembling, evaluating, and dispersing information concerning

         consumers credit, to third parties.

29.      Clarity is a specialty nationwide consumer reporting agency as defined by §1681a (x) of the

         Act.

30.      Clarity is NOT a nationwide consumer reporting agency as defined by §1681a (p) of the Act.

31.      Clarity dispenses such consumer reports to third parties under contract for monetary

         compensation.

32.      Clarity is liable for the acts of its employees, agents, and independent contractors under

         theories of respondeat superior, agency, and vicarious liability.

33.      As a business conducting its affairs within the United States generally, and Wisconsin

         specifically, Clarity is deemed to know what is lawful and what is unlawful under US and

         Wisconsin law. Barlow v. United States, 8 L. Ed. 728 (1833)("ignorance of the law will not

         excuse any person, either civilly or criminally"); Atkins v. Parker, 472 U.S. 115, 130

         (1985)("all citizens are presumptively charged with knowledge of the law"); Putnam v. Time

         Warner Cable of Southeastern Wisconsin, LP, 2002 WI 108, ¶ 13 & footnote 4, 255 Wis.2d

         447, 458 (Wis. 2002)("Wisconsin has adopted the mistake of law doctrine").


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                                  IV. FACTUAL ALLEGATIONS

34.      At all relevant times, Cheryl Shockley was in need of money to pay for her basic needs,

         including food, clothing, housing, home furnishings, utilities, and to pay existing debts. Her

         income at all relevant times was limited, and she had few, if any, options for credit.

35.      Given her lack of choice of lenders, Cheryl Shockley approached various short term, high

         interest lenders to arrange or obtain short term loans.

36.      Cheryl Shockley also began obtaining copies of her consumer credit reports as maintained

         by both nationwide and speciality credit reporting agencies, and has retained the services of

         at least one credit monitoring service.

37.      In a letter dated and mailed March 9, 2021, Cheryl Shockley ordered and requested a copy

         of her consumer credit report from Clarity.

38.      The letter ordering Cheryl Shockley's consumer credit report requested - to the fullest extent

         allowed or required by law - identification of the sources of the information in the report,

         including the true, correct and accurate legal name, true, correct and accurate trade name, the

         true, correct and accurate US mail, e-mail and website addresses, and true, correct and

         accurate phone number of all such persons and companies that furnished information to

         Clarity, and what information they furnished about Cheryl Shockley.




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39.      The letter ordering Cheryl Shockley's consumer credit report requested - to the fullest extent

         allowed or required by law - identification of each and every person or company that

         accessed any information contained in the report in the past year, requested identification

         of the true, correct and accurate legal name, the true correct and accurate trade name, the true

         correct and accurate US mail, e-mail and website addresses, requested identification of the

         true correct and accurate phone number of all such persons and companies, and requested

         identification of what information Clarity shared from my Cheryl Shockley's consumer

         credit report.

40.      The letter ordering Cheryl Shockley's consumer credit report requested disclosure of Cheryl

         Shockley's credit score as maintained by Clarity.

41.     The letter ordering Cheryl Shockley's consumer credit report was sent to the mailing address

        that Clarity designated as the address to send such a request, and was received on March 11,

        2021. Clarity designated that mailing address on its website as required by 12 C.F.R. §

        1022.137 (a)(1)(i - iii).

42.     By operation of 15 U.S.C. § 1681j(a)(2), Clarity was required to forward a copy of Cheryl

        Shockley's consumer credit report to her or her agent within 15 days of its receipt of Cheryl

        Shockley's request.

43.     On March 18, 2021, Clarity mailed a copy of Cheryl Shockley's consumer credit report to

        Cheryl Shockley.

44.     The March 18, 2021 Clarity consumer credit report did not disclose the full name of the

        entities who reported transactional information about Cheryl Shockley.




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45.      The March 18, 2021 Clarity consumer credit report did not disclose the full name of the

         entities who accessed information about Cheryl Shockley contained in her consumer credit

         file.

46.      The March 18, 2021 Clarity consumer credit report did not disclose the credit score Clarity

         assigned to Cheryl Shockley.

47.      On May 5, 2021, Shockley wrote Clarity, again asking for full identification of the entities

         who reported transactional information about Shockley, full identification of the entities who

         accessed information about Cheryl Shockley, and disclosure ofher credit score as maintained

         by Clarity.

48.      Clarity did not respond to the May 5, 2021 request.

49.      The information assembled by Clarity constitutes a "consumer report" under the FCRA, as

         the information is used for and bears "on a consumer's credit worthiness, credit standing,

         credit capacity, character, general reputation personal characteristics or mode of living ..."

         15 U.S.C. § 168 la(d)(1).

50.      The information assembled by Clarity constitutes a "consumer report" under the FCRA, as

         the information is assembled and is used "for the purpose of furnishing consumer reports to

         third parties ..." 15 U.S.C. § 1681a(d)(1).

51.      Clarity is a "consumer reporting agency" under the FCRA, as "for monetary fees" Clarity

        "regularly engages in ... the practice of assembling or evaluating consumer credit information

         or other information on consumers ..." 15 U.S.C. § 1681a(f).




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52.      The information about Cheryl Shockley, held by and released by Clarity to Cheryl Shockley,

         constituted a "consumer report" under the FCRA. 15 U.S.C. § 1681a(d)(1).

53.      The information about Cheryl Shockley, requested by and obtained by various entities

         including Credit Ninja, constituted a "consumer report" under the FCRA. 15 U.S.C. §

         1681a(d)(1).

54.      Clarity creates, generates and produces consumer credit reports on a regular basis, and

         derives the information in these reports from large amounts of information it collects and

         maintains on individuals like Cheryl Shockley in a data base called a consumer file.

55.      For example, the consumer credit report produced by Clarity on March 18, 2021 and mailed

         to Shockley runs 50 pages, and is full of vast amounts of personal identifiable information

        ("PII") and personal financial information ("PFI"), including but not limited to her name,

        address, and social security number, as well as her financial transaction history.

56.     When Cheryl Shockley obtained her Clarity consumer credit report, she learned that Credit

        Ninja had accessed her Clarity consumer credit report and file - either in full or in part - 14

        times between May 3, 2019 and Aug. 3, 2020.

57.     Each time Credit Ninja accessed Cheryl Shockley's Clarity consumer credit report, it

        obtained her personal identifiable information ("PII") and personal financial information

        ("PFI"), including but not limited to her name, address, and social security number, as well

        as her credit score and financial transaction history.

58.     After receiving Cheryl Shockley's PIE and PFI from Clarity, Credit Ninja forwarded Cheryl

        Shockley's PII and PFI to various high interest lenders.




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59.      When Credit Ninja forwarded Cheryl Shockley' s PII and PFI to various high interest lenders,

         it did so in an effort to arrange or obtain a loan for Cheryl Shockley with these lenders and

         others, for which Credit Ninja was compensated.

60.      By forwarding Cheryl Shockley's PIT and PFI to various high interest lenders in pursuit of

         a loan for Cheryl Shockley, for compensation, Credit Ninja acted as a CSO.

61.      Credit Ninja received compensation from these high interest lenders for forwarding Cheryl

         Shockley's PII and PFI

62.      When Credit Ninja forwarded Cheryl Shockley's PII and PFI to various lenders, it received

        money solely for referring Cheryl Shockley to those lenders for the purpose of an extension

        of credit.

63.     When Credit Ninja forwarded Cheryl Shockley's PH and PFI to various lenders, the credit

        available to Cheryl Shockley from those lenders was upon substantially the same terms as

        is credit that is available to the general public.

64.     When Credit Ninja forwarded Cheryl Shockley' s PII and PFI to various lenders, Credit Ninja

        was not registered to arrange or obtain credit for Cheryl Shockley from any lender, as

        required by Wis. Stat. § 422.502.

65.     When Credit Ninja forwarded Cheryl Shockley's PII and PFI to various lenders, it operated

        a fraud or deception on Shockley and those lenders in connection with the offer or sale of the

        services of a CSO, as Credit Ninja was not registered to do so.
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66.      By operation of Wisconsin law. Credit Ninja's acts implicate the remedies of Wis. Stat. §

         425.305, rendering the referral transactions and all activity relating to them void, and

         entitling Shockley to recover from Credit Ninja all amounts paid by the various lenders to

         Credit Ninja.

67.      Shockley's agent wrote Credit Ninja on March 29, 2021 and again on April 30, 2021,

         requesting among other things that Credit Ninja provide information and documentation

         about its activities and accounts relating to Cheryl Shockley.

68.      Credit Ninja did respond to these requests, asserting that it had no records relating to Cheryl

         Shockley.

69.      Cheryl Shockley's consumer credit report, as well as information contained within it, was

         forwarded by Credit Ninja - for compensation - to unknown third parties.

70.      Both Clarity and Credit Ninja are required by state and federal law including the FCRA to

         adopt and maintain procedures designed to both protect consumer credit information and to

         limit its obtainment as well as its dissemination to proper parties.

71.     Neither Clarity nor Credit Ninja have adopted nor maintained procedures adequately

         designed to both protect consumer credit information and to limit its obtainment as well as

         its dissemination to proper parties.

72.     Both Clarity and Credit Ninja are prevented by state and federal law including the FCRA

         from releasing Cheryl Shockley' s consumer credit report to third parties absent a permissible

        purpose under the FCRA, 15 U.S.C. § 1681b(a)(1 through 6).




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73.      None of the circumstances listed in 15 U.S.C. § 1681b(a)(1 through 6) are present here, as,

         there is no "credit transaction" or "credit application" initiated by Cheryl Shockley, and no

         "business transaction" was initiated by Cheryl Shockley.

74.      The initiation of a "credit transaction" or "credit application" or "business transaction" by

         a third party is not a permissible purpose under the FCRA.

75.      Credit Ninja is required by the FCRA to adopt and maintain procedures designed to limit and

         restrict its access to consumer credit information, except where a permissible purpose to

         access the information exists. 15 U.S.C. § 1681b(f).

76.      Contrary to its duties under 15 U.S.C. § 1681b(f), Credit Ninja unlawfully retrieved a

         complete copy of Cheryl Shockley's consumer credit report and file as maintained by Clarity,

         and did so multiple times.

77.      The referenced inquiries have become a permanent component of Cheryl Shockley's credit

         report and is reported to those who ask to review the credit history of Cheryl Shockley.

78.      Credit Ninja agreed and represented in its agreements with the various credit reporting

         agencies that Credit Ninja would request and use consumer reports which were obtained

         from said agencies only for purposes which are lawful under the FCRA as defined under

         §1681b.

79.      Credit Ninja is and was required by §§ 1681b, 1681n, and 1681q to refrain from obtaining

         consumer reports from credit reporting agencies under false pretenses, or without a legal

         basis.

80.      At no time material hereto did Cheryl Shockley ever have a relationship with Credit Ninja,

         or Clarity of the kind specified under §1681b(a)(3)(A) - (F).


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81.      Cheryl Shockley has never knowingly given written instructions to Credit Ninja or Clarity

         to obtain and/or release to a third party a consumer report of which Cheryl Shockley was the

         subject.

82.      Neither Credit Ninja, nor Clarity have ever been ordered by a court of competent jurisdiction

         to obtain a copy of Cheryl Shockley's consumer credit report pursuant to § 1681b(1).

83.      Credit Ninja and Clarity each have an affirmative duty to follow reasonable procedures,

         including those that would prevent the impermissible accessing of consumer reports.

84.      Reasonable procedures for users include restricting the ability of Credit Ninja and Clarity's

         agents, contractors, and employees to obtain consumer reports on consumers for any

         impermissible purpose.

85.      Credit Ninja and Clarity's illegal, unlawful, and impermissible creation, dissemination,

         acquisition and / or redisclosure of Cheryl Shockley's consumer credit report violates Cheryl

         Shockley's privacy rights under the FCRA.

86.      Credit Ninja and Clarity's actions have impaired Cheryl Shockley's future access to credit.

87.      As a result of the acts alleged above, Cheryl Shockley has suffered and is entitled to recover

         damages.
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                                     V. CAUSES OF ACTION

COUNT 1.         WISCONSIN CONSUMER ACT

88.      Cheryl Shockley repeats and realleges the above paragraphs.

89.      Credit Ninja violated the Wisconsin Consumer Act. Credit Ninja's violations include, but

         are not limited to the following:

                (A)     Prohibited practices/unlicensed CSO activity

                Credit Ninja violated Wis. Stat. § 422.501 by acting as a CSO in
                Wisconsin without the legal authority to do so.

                (B)     Prohibited practices/unlicensed CSO activity

                Credit Ninja violated Wis. Stat. § 422.501 by acting as a CSO as to
                a Wisconsin resident without the legal authority to do so.

                (C)     Prohibited practice/unlawful CSO activity

                Credit Ninja violated Wis. Stat. §§ 422.502 by attempting to arrange
                or obtain an extension of credit for Shockley, on substantially the
                same terms as is credit that is available to the general public.

                (D)     Prohibited practice/unlawful CSO activity

                Credit Ninja violated Wis. Stat. §§ 422.502 by attempting to arrange
                or obtain an extension of credit for Shockley, while operating a fraud
                or deception on Shockley and those lenders in connection with the
                offer or sale of the services of a CSO.


90.      As a result of the above violations of the Wisconsin Consumer Act, Credit Ninja is liable to

         Cheryl Shockley in the sum of her actual damages, punitive damages, statutory damages,

         payment disgorgement, costs, disbursements and reasonable attorney's fees, as well as

         corresponding declaratory and injunctive relief.




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COUNT 2. FAIR CREDIT REPORTING ACT

91.      Cheryl Shockley incorporates by reference all the foregoing paragraphs.

92.      Credit Ninja willfully and/or negligently violated provisions of the Fair Credit Reporting

         Act. Credit Ninja's violations include, but are not limited to the following:


         (a)    Credit Ninja violated 15 U.S.C. §1681b by willfully and/or
                negligently accessing Cheryl Shockley's credit file without a
                permissible purpose under the Act.


93.      Clarity willfully and/or negligently violated provisions of the Fair Credit Reporting Act.

         Clarity's violations include, but are not limited to the following:

         (a)    Clarity violated 15 U.S.C. §1681g(a)(1-6) by willfully and/or
                negligently failing to provide and disclose to Cheryl Shockley, a
                complete copy of her consumer credit report and the information in
                her consumer credit file, within 15 days of her request.

         (b)    Clarity violated 15 U.S.C. §168 1 a by willfully and/or negligently
                releasing information from Cheryl Shockley's consumer credit file
                and her consumer credit report to Credit Ninja, where Credit Ninja
                had no permissible purpose under the FCRA to access or receive such
                information.


94.      As a result of the above violations of the FCRA, Credit Ninja is liable to Cheryl Shockley

         in the sum of Cheryl Shockley's actual damages, statutory punitive damages, costs,

         disbursements, and reasonable attorney's fees.

95.      As a result of the above violations of the FCRA, Clarity is liable to Cheryl Shockley in the

         sum of Cheryl Shockley's actual damages, statutory punitive damages, costs, disbursements,

         and reasonable attorney's fees.




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COUNT 3.        WISCONSIN'S PRIVACY STATUTE

96.      Cheryl Shockley incorporates by reference all the foregoing paragraphs.

97.      The information concerning Cheryl Shockley, as contained in the consumer credit report

         maintained by Clarity, includes non public PII such as Cheryl Shockley's social security

         number, and further includes non public personal financial information ("PFI") such as her

         banking information, and her credit score.

98.      The information concerning Cheryl Shockley, as contained in the consumer credit report

         maintained by Clarity, is private, and is of a highly personal nature.

99.      Similar information concerning any reasonable person of ordinary sensibilities, would also

         be considered private and of a highly personal nature.

100.     The unlawful accessing of that information by Credit Ninja is highly offensive to Cheryl

         Shockley.

101.     The unlawful re disclosure of that information by Credit Ninja is highly offensive to Cheryl

         Shockley.

102.     Any unlawful accessing and re disclosure of similar information of any reasonable person

         of ordinary sensibilities, would be highly offensive to any such person.

103.     Credit Ninja acted unreasonably and recklessly in accessing, as well as subsequently re

         disclosing, Cheryl Shockley's information including P11 and PFI about Cheryl Shockley.
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104.   While Cheryl Shockley's PII and PFI were not disclosed to the general public, Cheryl

       Shockley's PII and PFI were disclosed to an audience that includes companies that Cheryl

       Shockley has never contracted with, companies that Cheryl Shockley has never authorized

       to receive such information, and companies that Cheryl Shockley has no control over

       including potentially companies based and operating outside the United States and

       Wisconsin, and outside the jurisdiction of United States and Wisconsin courts.

105.   Credit Ninja willfully and/or recklessly violated Wis. Stat. § 995.50(2)(a & c), including its

       prohibition on accessing and then re disclosing Cheryl Shockley's PII and PFI.

106.   As a result of the above violations of Wis. Stat. § 995.50, Credit Ninja is liable to Cheryl

       Shockley in the sum of Cheryl Shockley's actual damages, costs, disbursements, and

       reasonable attorney's fees, along with any appropriate injunctive relief.

COUNT 3.         DECLARATORY AND INJUNCTIVE RELIEF

107.   Cheryl Shockley repeats, re alleges, and incorporates by reference all paragraphs above.

108.   A bona fide dispute exists between Cheryl Shockley and Credit Ninja with regard to Credit

       Ninja's violations of Cheryl Shockley's privacy rights under Wis. Stat. § 995.50.

109.   Credit Ninja's violations of Cheryl Shockley' s privacy rights under State and Federal law are

       material, as these violations will effect Cheryl Shockley's credit score, his sense of peace and

       security, and will likely expose Cheryl Shockley to identify theft.

110.   The issuance of a declaratory judgement by this court would serve to identify with specificity

       that Credit Ninja has violated Cheryl Shockley's legal rights under Wis. Stat. § 995.50.

111.   Cheryl Shockley is entitled to a determination that Credit Ninja has violated Wis. Stat. §

       995.50.


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112.   Pursuant to Wis. Stat. § 995.50(1)(a), Cheryl Shockley is entitled to an order permanently

       enjoining Credit Ninja from further re disclosing Cheryl Shockley's PII and PFI, an order

       directing Credit Ninja to destroy the PII and PFI it currently holds, and an order directing

       Credit Ninja to disclose those parties to whom Credit Ninja has sold or shared or redisclosed

       Cheryl Shockley's PII and PFI.

113.   Cheryl Shockley is also entitled to any and all corresponding injunctive relief.



                                VI. REQUEST FOR RELIEF

114.   WHEREFORE, Cheryl Shockley respectfully requests that Judgment be entered as follows:

Count 1 - as to Credit Ninja only:

       (a)    plaintiff's actual damages;

       (b)    A rescission or voidance of the loan referral contracts and disgorgement
              of all payments made to Credit Ninja by the lenders to whom it sent
              Shockley's PII and PFI;

       (c)    $25.00 statutory damages per violation, pursuant to Wis. Stat. § 425.302;

       (d)    $100.00 statutory damages per violation, pursuant to Wis. Stat. § 425.303;

       (e)    $1,000.00 statutory damages per violation, pursuant to Wis. Stat. § 425.304;

       (f)    punitive damages;

       (g)    Costs and reasonable attorney's fees, pursuant to Wis. Stat. § 425.308;

       (h)    injunctive and declaratory relief; and,

       (i)    Such other and further relief as the court deems just and equitable.




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Count 2 - as to both Credit Ninja and Clarity.

       (a)    actual damages;
       (b)    punitive damages;
       (c)    statutory damages of $1,000.00 per violation;
       (d)    costs and reasonable attorney's fees; and
       (e)    such other and further relief as the court deems just and equitable.

Count 3 - as to both Credit Ninja and Clarity

       (a)    actual damages;
       (b)    punitive damages;
       (c)    declaratory and injunctive relief:
       (d)    costs and reasonable attorney's fees; and
      (e)    such other and further relief as the court deems just and equitable.
Count 4 - as to both Credit Ninja and Clarity
      (a)     declaratory and injunctive relief:
      (b)    costs and reasonable attorney's fees; and
      (c)    such other and further relief as the court deems just and equitable.
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                         VII. DEMAND FOR TRIAL BY JURY


115.   Cheryl Shockley hereby demands that, to the extent provided by the United States and

       Wisconsin Constitutions, United States and Wisconsin Statutes, and United States and

       Wisconsin Common Law, these claims be determined by a jury of her peers.




Dated: May 17, 2021                              electronically signed by Eric Crandall
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                                                CRANDALL LAW FIRM, S.C.
                                                421 West Second Street
                                                PO Box 27
                                                New Richmond, WI 54017
                                                715-243-9996 (p)
                                                WisconsinConsumerLaw@frontier.com
                                                Wis. Atty. Lic. No. 1001833

                                                ATTORNEY FOR PLAINTIFF
                                                CHERYL SHOCICLEY
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STATE OF WISCONSIN                                            CIRCUIT COURT                                       DOUGLAS            05-17-2021
                                                                                                                                     Clerk of Court
Cheryl Shockley vs. KMD Wisconsin LLC et al                                                 Electronic Filing                        Douglas County, WI
                                                                                                 Notice
                                                                                                                                     2021CV000115
                                                    Case No. 2021CV000115
                                                    Class Code: Money Judgment



                                 KMD WISCONSIN LLC
                                 SUITE 2200
                                 222 SOUTH RIVERSIDE PLAZA
                                 CHICAGO IL 60606




                Case number 2021CV000115 was electronically filed with/converted by the Douglas County
                Circuit Court office. The electronic filing system is designed to allow for fast, reliable exchange
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                Parties who register as electronic parties can file, receive and view documents online through
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                a document filed by traditional means. Electronic parties are responsible for serving
                non-electronic parties by traditional means.

                You may also register as an electronic party by following the instructions found at
                http://efiling.wicourts.gov/ and may withdraw as an electronic party at any time. There is a
                $20.00 fee to register as an electronic party. This fee may be waived if you file a Petition for
                Waiver of Fees and Costs Affidavit of Indigency (CV-410A) and the court finds you are
                indigent under §814.29, Wisconsin Statutes.

                If you are not represented by an attorney and would like to register an electronic party, you
                will need to enter the following code on the eFiling website while opting in as an electronic
                party.

                Pro Se opt-in code: 170106

                Unless you register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                715-395-1203.

                                                                                    Douglas County Circuit Court
                                                                                    Date: May 19, 2021




GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                       §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
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                                                                                     05-17-2021
                                                                                     Clerk of Court
                                                                                     Douglas County, WI
                                                                                     2021CV000115




STATE OF WISCONSIN                    CIRCUIT COURT                  COUNTY OF DOUGLAS


Cheryl Shockley,                                           Case No. 2021-CV-

               Plaintiff,
vs.


KMD Wisconsin, LLC,
 d/b/a Credit Ninja, and
Clarity Services, Inc.,

               Defendants.


                                          SUMMONS


                        THE STATE OF WISCONSIN
          TO EACH PERSON OR ENTITY NAMED ABOVE AS A DEFENDANT

You are hereby notified that the Plaintiff named above have filed a lawsuit or other legal action
against you. The complaint, which is attached, states the nature and basis of the legal action.

Within twenty (20) days of receiving this summons, you must respond with a written answer to the
complaint, as the term is used in chapter 802 of the Wisconsin Statutes. The court may reject or
disregard an answer that does not follow the requirements of the statutes. The answer must be
electronically filed, or sent or delivered to the court, whose address is

Clerk of Circuit Court,
Douglas County Courthouse,
1313 Belknap Street,
Superior, Wisconsin 54880,
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and a copy sent or delivered to Plaintiff's attorney, whose address is

Eric L. Crandall, Esq.,
Crandall Law Firm, SC,
421 West Second Street,
PO Box 27,
New Richmond, WI 54017

You may have an attorney help or represent you.

If you do not provide a proper answer within twenty (20) days, the court may grant judgment against
you for the award of money or other legal action requested in the complaint, and you may lose your
right to object to anything that is or may be incorrect in the complaint. A judgment may be enforced
as provided by law. A judgment awarding money may become a lien against any real estate you own
now or in the future, and may also be enforced by garnishment or seizure of property.


DATED: May 17, 2021                                   Electronically signed by Eric Crandall
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                                                     ATTORNEY FOR PLAINTIFF
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                                                                                         05-17-2021
                                                                                         Clerk of Court
                                                                                         Douglas County, WI
STATE OF WISCONSIN                       CIRCUIT COURT                   COUNTY OF 1101gOlockS5


Cheryl Shockley,                                               Case No. 2021-CV-

                 Plaintiff,
vs.


KMD Wisconsin, LLC,
 d/b/a Credit Ninja, and
Clarity Services, Inc.,

                Defendants.


                         COMPLAINT AND DEMAND FOR JURY TRIAL


                                        I. INTRODUCTION

1.       This is an action brought by Cheryl Shockley ("Shockley") seeking redress for violations of

         the Wisconsin Consumer Act ("Consumer Act" or "WCA") committed by KMD Wisconsin,

         LLC, d/b/a Credit Ninja ("Credit Ninja"). Shockley also seeks redress for violations of the

         Fair Credit Reporting Act, 15 U.S.C. §1681, et seq. ("FCRA"), and Wisconsin's Privacy

         statute, Wis. Stat. § 995.50, committed by both Credit Ninja, and by Clarity Services, Inc.

         ("Clarity").   Shockley seeks recovery of actual, statutory and punitive damages, her

         reasonably incurred costs and attorney fees, as well as declaratory and injunctive relief.

                                        IL JURISDICTION

2.       Jurisdiction of this court arises under Wis. Stat. § 421.201-203 (WCA jurisdiction) and Wis.

         Stat. § 801.04 (general), as well as 15 U.S.C. §1681p (FCRA).

3.       Venue is appropriate under Wis. Stat. § 421.401 (WCA venue) and Wis. Stat. § 801.50

         (venue).


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